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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


OLAOLUWA EMMANUEL DESMOND KALIKU, )
                                             )
                      Petitioner,            )
                                             )
      v.                                     )                 Case No. 24-3144-JWL
                                             )
U.S. IMMIGRATION AND CUSTOMS                 )
      ENFORCEMENT;                           )
KEVIN RIDDLE, ICE Field Office Director;     )
JACOB WELCH, Warden, Chase County Detention )
      Center,                                )
                                             )
                      Respondents.           )
                                             )
____________________________________________ )

                                         ORDER

       Petitioner filed a pro se petition for habeas corpus under 28 U.S.C. § 2241, claiming

that he has been unreasonably detained for more than six months after his order of

deportation was signed on February 14, 2024. On October 24, 2024, respondents filed their

response to the petition, and petitioner’s traverse is presently due on or before November

14, 2024. Petitioner has now filed a motion (Doc. # 14) in which he asks the Court to order

Chase County Detention Center (where petitioner was previously detained) and ICE

officials to produce to him copies of his email communications with immigration officials

during the time of his detention there. In response to the motion, respondents have
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provided evidence that all such emails have now been produced to petitioner. Accordingly,

the motion for such relief is hereby denied as moot.1



       IT IS THEREFORE ORDERED BY THE COURT THAT petitioner’s motion for

the production of certain documents (Doc. # 14) is hereby denied as moot.


       IT IS SO ORDERED.


       Dated this 7th day of November, 2024, in Kansas City, Kansas.


                                                  /s/ John W. Lungstrum
                                                  Hon. John W. Lungstrum
                                                  United States District Judge




       1
         Respondents also state in their response that petitioner has sent a list of questions
to a deportation official and thus appears to seek discovery without leave of the Court. The
Court agrees with respondents that petitioner has not sought leave to propound
interrogatories to respondents. Because no such motion for leave is presently pending, the
Court states no opinion concerning whether it would grant petitioner leave to propound
interrogatories or to seek other discovery in this case.
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